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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Jaime Moreno, CASE NUMBER

2:21-cv-07852-RGK-KS
PLAINTIFF(S)

Hugo Moreno,

ORDER RE REQUEST TO PROCEED
IN FORMA PAUPERIS

DEFENDANT(S)

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby GRANTED.

Date United States Magistrate Judge

IT IS RECOMMENDED that the Request to Proceed In Forma Pauperis be DENIED for the following reason(s):

[-] Inadequate showing of indigency District Court lacks jurisdiction
[] Legally and/or factually patently frivolous Lj Immunity as to

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Comments:

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Unitefl States Magistrate Judge

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby:
[] GRANTED
[YX DENIED (see comments above). IT IS FURTHER ORDERED that:

C) Plaintiff SHALL PAY THE FILING FEES IN FULL within 30 days or this case will be dismissed.
(1) This case is hereby DISMISSED immediately.

[] This case is hereby REMANDED to state court. d | 2

October 8, 2021
Date United States District Judge

CV-73 (08/16) ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS
